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                             UNITED STATES DISTRICT COURT                          SEP O9 2022
                             SOUTHERN DISTRICT OF FLORIDA                          ANGELA E. NOBLE
                                                                                  CLERK U.S. DIST. CT.
                                                                                  S.D. OF FLA . - W.P.8.

                                   CASE NO. 22-MJ-8332-BER

   IN RE SEALED SEARCH WARRANT
                                                                             UNDERSEAL
   ______________ /

                     UNITED STATES' NOTICE REGARDING
             ADDITIONAL PARTIAL UNSEALING OF SEARCH WARRANT


          As this Court is aware, portions of the affidavit submitted to the Court on August 5,

   2022 , in support of the government's application for a search warrant at a property of former

   President Donald J. Trump have been unsealed, and a redacted version of that affidavit has

   been made publicly available on the Court's docket. See Docket Entries ("D.E .") 1, 74, 80 ,

   102-1 . The government files this supplemental notice, along with the attached version of the

   affidavit with revised redactions , in order to permit the Court to decide whether additional

   unsealing to the extent reflected in the attached redacted affidavit is warranted.

          Among the reasons that the Court previously explained supported keeping aspects of

   the affidavit sealed was grand jury secrecy. See D .E. 80 at 7-8 . Indeed, Federal Rule of

   Criminal Procedure 6(e) generally requires the government and grand jurors themselves ,

   among others, not to disclose matters occurring before the grand jury unless otherwise

   authorized by an exception to the rule . One such exception is Rule 6(e)(3)(E)(i), which

   permits a court to authorize disclosure of a grand jury matter in connection with a judicial

   proceeding. In contrast to the general prohibition on government disclosures of grand jury

   matters, however, the recipient of a grand jury subpoena is generally free to disclose grand
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   jury matters in the absence of a court order to the contrary.

          In another proceeding in this district related to the search warrant in this matter, former

   President Trump voluntarily revealed the existence of a subpoena for documents bearing

   classified markings served on his post-presidential office, as well as a subpoena served on his

   business entity, the Trump Organization, for video surveillance footage.         See Trump v. United

   States ofAmerica, No. 9:22-cv-81294-AMC, D.E . I at 5-6.        Those subpoenas were issued by a

   federal grand jury sitting in the U.S. District Court for the District of Columbia.

          In order to respond to former President Trump's filings in that matter, the government

   sought permission from the U.S. District Court for the District of Columbia to disclose the

   existence of those subpoenas , as well as correspondence and communications related to them,

   pursuant to Rule 6(e)(3)(E)(i). See In Re Application of USA for Order Pursuant to Fed. R . Crim.

   P. 6(e)(3)(E)(i)for Limited Disclosure ofMatter Occurring Before a Grand Jury, No. 22-GJ-37, D.E.

   No. I (D.D.C. Aug. 29, 2022) .1 The court granted the government's request, finding under

   the applicable law in that district that the government had established a "particularized need"

   for the grand jury material in question, and permitted the government to make the disclosure

   in Trump v. United States.       See id. D.E. 2.    Thereafter, the government referenced the

   subpoenas already publicly revealed by former President Trump in its filings.           See Trump v.

   United States, D.E. 48 at 7-9.

          Because those aspects of the grand jury's investigation have now been publicly

   revealed, there is no longer any reason to keep them sealed (i.e. redacted) in the filings in this



   1
     The unsealed filings in that matter are availab le on the website of the U.S. District Court for
   the District of Columbia.
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   matter, including the affidavit in support of the search warrant. Therefore, the government

   has sought and received authorization from the U.S. District Court for the District of

   Columbia to additionally disclose here matters related to the subpoenas that former President

   Trump publicly revealed in Trump v. United States.         See In R e Application of USA for Order

   Pursuant to Fed. R . Crim. P. 6(e)(3)(E)(t) for Limited Disclosure of Matter Occurring Before a Grand

   Jury, No . 22-GJ-3 7, D.E. No . 7 (D .D .C. Sep. 7, 2022).           Pursuant to that order, the

   government is attaching hereto a revised version of the affidavit that no longer redacts facts

   related to the relevant grand jury subpoenas . If the Court agrees , the government does not

   object to the unsealing of the attached version of the affidavit or of this filing.



                                                         Respectfully submitted,


                                                         I s Juan Antonio Gonzalez
                                                         JUAN ANTONIO GONZALEZ
                                                         UNITED STATES ATTORNEY
                                                         Florida Bar No . 897388
                                                         99 NE 4th Street, 8th Floor
                                                         Miami, FL 33132
                                                         Tel: 305-961-9001
                                                         Email: juan.antonio.gonzalez@usdoj.gov


                                                          Is Jay I Bratt
                                                         JAYI. BRATT
                                                         CHIEF
                                                         Counterintelligence and Export Control
                                                         Section
                                                         National Security Division
                                                         950 Pennsylvania Avenue, NW
                                                         Washington, D .C. 20530
                                                         Illinois Bar No. 6187361
                                                         Tel: 202-233-0986
                                                         Email: jay.bratt2@usdoj.gov

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